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                    Exhibit 18F
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                              UNITED STATES DISTRICT
                             COURT EASTERN DISTRICT OF
                             LOUISIANA


***************************************************
                                                              *
       IN RE: OIL SPILL by the OIL RIG                        *    MDLNo.2179
       "DEEPWATER HORIZON" in the                             *    SECTION J
       GULF OF MEXICO, on                                     *    JUDGE BARBIER
       APRIL 20, 2010                                         *    MAG. JUDGE SHUSHAN
                                                              *
 ***************************************************************

                            DECLARATION OF DAVID A. HALL

       1.      I am a Managing Director with Alvarez & Marsal. My practice specializes in
matters involving the determination and measurement of economic damages in a variety of
industries including the construction industry. I hold a Masters Degree in Business
Administration from the University of Texas and a Bachelor of Arts Degree from the University
of Michigan. I am a Certified Management Accountant and a Certified Fraud Examiner.
       2.      During the past 24 years, I have evaluated project accounting and damages issues
in a number of construction matters for a variety of projects. I have extensive experience with
contractors’ accounting systems including reviewing and analyzing contractors’ project job costs
accounts, compliance reviews and fraud investigations. Appendix A of this declaration contains
a more detailed overview of my qualifications and professional experience.

                      ASSIGNMENT AND SUMMARY OF OPINIONS

       3.      I have been asked by BP to address Class Counsel’s proposed approach to
implementing the Business Economic Loss (BEL) framework of the Economic and Property
Damages Settlement, with a focus on claims from businesses in construction-related industries. I
was involved in developing the approach for matching monthly revenue to corresponding
expenses for construction companies proposed in Tab 1 of the BP Response to Class Counsel’s
December 16, 2012 Request for Policy Determination. I was also involved in developing the
triggers/thresholds to determine whether further matching of revenue to corresponding expenses,
which BP proposed in a supplemental submission to the Claims Administrator, is needed.


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       4.        My opinions are based on my review of the Settlement Agreement, construction
company claims submitted to the Settlement Program, offers made by the Settlement Program to
those claimants, some of the supporting information provided by those claimants, and related
analysis that I have performed. A list of the documents that I have reviewed in preparing this
declaration is attached as Appendix B. My principal opinions are summarized below:
            (1) The BEL framework requires comparison of a claimant’s financial performance
               before and after the Deepwater Horizon spill. Class Counsel’s proposed
               interpretation and implementation of the BEL framework in many cases will result
               in an inaccurate picture of the financial performance of construction-related
               businesses. In contrast, BP’s proposed interpretation and implementation of the
               BEL framework to account for revenue when it is earned and to match revenue to
               corresponding costs is consistent with basic accounting principles and yields a
               realistic picture of a claimant’s financial performance.
         (2) Construction companies primarily use percentage-of-completion methods of
               accounting, methodologies designed to track the profit (or loss) of the companies’
               active projects. While profit and loss (“P&L”) schedules of Construction claimants
               using this accounting method have reasonably matched revenues and expenses on
               an annual basis, often the financial statements do not accomplish that objective on a
               monthly basis.
         (3) Based on the dramatic month-to-month fluctuations in the variable profit margin
               that I see in the financial statements of construction company claim files I reviewed,
               it appears that the claimants do not consistently record when revenue is earned and
               have not consistently matched monthly revenues with the corresponding expenses
               incurred to generate that revenue. Where these factors are present, the Settlement
               Program’s compensation offers, which are based on simple transcriptions of
               monthly entries from contractors’ P&L schedules into BEL computation
               spreadsheets, provide an distorted and inaccurate assessment of the pre- and post-
               spill financial performance of these construction firms.
         (4) The approach proposed for construction claims in Tab 1 of BP’s response to Class
               Counsel’s request for a policy determination by the Claims Administrator is simple
               and workable, and will result in a reliable assessment of the pre- and post-spill
               financial performance of construction firm claimants.

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            (5) The triggers or thresholds proposed in BP’s supplemental submission to the Claims
               Administrator are simple and workable approaches that the Settlement Program can
               adopt to identify claims where the claimant-provided financial data will require
               further matching of revenue to corresponding variable expenses in order to meet the
               requirements in the BEL framework.

               OVERVIEW OF CONSTRUCTION INDUSTRY ACCOUNTING

       5.        Due to the complex nature of construction projects, contractors build
expertise in their chosen specialty. Whether it is road construction, underground sewer
and water, electrical, rehab or dozens of other specialties, contractors focus their
experience and skills on specific markets and projects.
       6.        Contractors are typically chosen through unique processes. For example,
municipal projects, and virtually all larger private projects, undergo a “bid process” by
which competing construction companies submit estimates for work described in a
formal proposal request. Most bids call for construction companies to identify time
frames, project schedules and detailed financial estimates. Given that most jobs will last
at least several months, and many can last for years, successful contractors require
expertise in developing bids and estimating costs, and have the ability to effectively
execute those bid estimates consistently in the field.
       7.        This is why most geographic areas in the U.S. have well-established
companies that compete regularly for projects within their specialty. For most medium
and large construction projects, bid auctions are generally held many months before a
project begins to allow proper planning and preparation. As a result, construction
companies will measure their success based on their “backlog” (or the number of jobs
they have in the pipeline for the coming year).
       8.        Due to the competitive bid process, long lead times and long projects, the
profit margins earned by contractors tend to change slowly over time and successful
construction companies generally display stable margins on a year-to-year basis. At any
point in time, construction companies will have multiple projects in process and the
company’s financial results are a weighted average of the results of its projects. This
further limits the variation in profits and profit margins from year to year because the



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weighted average limits the financial impact of a single successful or unsuccessful
project.
        9.        Accounting guidance and requirements for construction contractors are
different than for other industries. Generally, construction companies generate revenue
and earn profits (or suffer losses) over long periods of time and in various phases as
projects progress. Some projects may be continuous while other projects may have
periods of dormancy during which others aspects of the work are performed by different
specialists.
        10.       As a result of the long term nature of construction projects, construction
contractors account for project activity as work is completed. The method used to
account for work completion in stages is called "percentage-of-completion." Under this
method,

               “ . . . portions of the total estimated contract revenues and costs are
               reflected in income each period based on the proportion of the contract
               work completed in each period. The profit recognized each period is
               normally a constant percentage of the revenue recorded for the period,
               unless the revenue or cost estimates are changed.” 1
        11.       Contractors estimate the profits to be earned on a specific project and
reflect those profits on their income statement as work is completed. While there are
several different percentage-of-completion methods for calculating revenues and
expenses, all are based on the simple assumption that profits are earned in relation to the
percentage of the work performed over the contract term. As a result, a construction
company’s variable profit margin (expressed in percentage terms) should generally
change little on a month to month basis if properly calculated. Competitively bid
contracts are typically priced with similar profit margins, and the margins earned on in-
process projects typically change little from month-to-month. Also, the jobs-in-progress
at any point in time, as a group, should exhibit steady weighted average profitability seen
on an annual basis.
        12.       However, as discussed further below, the financial books and records
maintained by construction companies often do not reflect accurate monthly results even
where annual results are properly stated. In part this is due to the significant role of
1
 Accounting Standards 605 Revenue Recognition, 35 Construction-Type and Production-Type Contracts,
Percentage-of-Completion, U.S.: Recognition of Revenues and Costs, p. 1.


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change orders in the industry, which are not reflected in initial estimates and often
generate margins for contractors that are higher or lower than work reflected in the
original bid.
                                     ANALYSIS AND DISCUSSION

        1.       BP’s interpretation of the BEL requirements is consistent with basic
                 accounting principles for measuring contractors’ financial performance.
                 Failure to adhere to these principles results in distorted estimates of the
                 financial performance of contractors before and after the spill.
        13.      The BEL framework provides compensation to claimants that experience a post-
spill decline in variable profits.      Specifically, to determine the Variable Profit (a key part of the
BEL compensation framework), the Settlement Agreement directs the Settlement Program to
identify the monthly revenues earned by the claimant and to then subtract the corresponding
variable expenses incurred in generating that revenue over the same period of time. 2 In addition,
the BEL framework requires that the three-or-more month periods used to compare Benchmark
Period and Compensation Period performance should be “comparable.” 3
        14.      The BEL framework requirement that monthly revenue be matched with the
“corresponding” variable expenses is consistent with the widely accepted accounting principle
which “dictates that efforts (expenses) be matched with accomplishment (revenues) whenever it
is reasonable and practicable to do so.” 4 It is widely understood and accepted that such matching
between revenue and expenses is required in order to understand a business’s financial
performance for a given accounting period.
        15.      Variable profit is the amount by which product revenues exceed the variable
expenses (the direct costs incurred in producing and selling those products or services). For
purposes of calculating variable profit, therefore, businesses must appropriately match revenues
and related expenses incurred in generating those revenues. Without matching revenues with
variable expenses, variable profit figures will not accurately reflect financial performance for the
relevant months. Without this information, the BEL framework will not generate reliable or
reasonable Settlement Program offers.



2
  Exhibit 4C, page 2.
3
   This aspect of the agreement plays little role in the proposed approach to improve implementation of the BEL
framework discussed below and so is not addressed in detail in this declaration.
4
  Intermediate Accounting, Tenth Edition, Kieso, Weygandt, and Warfield, p. 46.


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        16.     Because construction contracts often include variable payment schedules and
require performance stretched over multiple accounting periods, a construction company does
not in the ordinary course of business always match its costs and revenues on a monthly basis
throughout the year in its monthly P&L schedules. In my experience construction companies
primarily use the percentage-of-completion methods of accounting, methods which track the
profit (or loss) of the companies’ active projects on a project-by-project basis. Under the
percentage-of-completion method,

        “portions of the total estimated contract revenues and costs are reflected in
        income each period based on the proportion of the contract work completed in
        each period. As a result, the profit recognized each period is normally a constant
        percentage of the revenue recorded for the period, unless the revenue or cost
        estimates are changed.” 5
It is also my experience that contractors’ focus on matching revenues and expenses only for
accounting periods that are most relevant for tax and other purposes (generally on an annual
basis). However, the BEL framework requires that revenue be matched to corresponding
expenses both on a monthly and annual basis.

        2.      Construction claimants’ monthly revenues typically are not properly
                matched to the corresponding variable expenses in financial statements they
                are submitting.
        17.     The P&L schedules in the Settlement Program files for construction claims that I
have reviewed generally do not appear to properly match revenues and corresponding variable
expenses on a monthly basis although revenue and expenses do appear to have been reasonably
matched on an annual basis. This discrepancy between the monthly and annual statements is not
unexpected. As discussed further below, the comprehensive contract reviews (for change orders)
and project completion estimates required to properly calculate percentage-of-completion are not
needed on a monthly basis for construction contractors to run their businesses. While accurate
year-end percentage-of-completion calculations are critical for reporting to third parties as well
as the Internal Revenue Service (“IRS”), monthly P&L schedules which accurately match
revenues and expenses are not commonly maintained by contractors in the ordinary course of
business. Further, only annual or year-end P&L statements are subject to audit by outside


5
 Accounting Standards 605 Revenue Recognition, 35 Construction-Type and Production-Type Contracts,
Percentage-of-Completion, U.S.: Recognition of Revenues and Costs, p. 1.


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accounting firms. Audited financial statements are important to contractors for bonding and/or
lending purposes.
       18.       My conclusion that revenue and expenses appear to be reasonably well matched
on an annual basis is reflected in the fact that variable profit expressed as a percentage of
revenue measured on an annual basis appears to be stable for the claims I have reviewed.
Appendix Table C.1 demonstrates contractors’ stable annual variable profit margins, and
is consistent with expectations under a percentage-of-completion method of accounting which
matches revenues with the corresponding expenses incurred in generating that revenue during an
accounting period. However, the monthly variable profit margins reflected for most of the
Claimants varied dramatically, with swings of more than 100% over consecutive months.
Appendix Tables C.2 through C.6 and the graph and chart on page 2 illustrating both the wide
range and dramatic changes in claimants’ monthly variable profit margin.
       19.       Just as the stability of annual profit margins is not unexpected, the volatility in
monthly variable profit margins is also not unexpected and is consistently observed across these
construction companies. There are several reasons why the contractors’ monthly percentage-of-
completion accounting may not match revenue with corresponding expenses including:

             •   Accurate and up to date percentage-of-completion financial statements involve
                 review of latest cost of completion estimates as well as pending change orders.
                 Many contractors comprehensively calculate and record percentage-of-completion
                 entries only at year end. This is because they represent to auditors, government
                 (IRS) and lenders only that their annual P&L statements are up to date and
                 accurate and do not have monthly reporting requirements. In these cases, the
                 contractors’ monthly P&L schedules will not at all capture the proper matching of
                 monthly revenues and expenses which distorts monthly variable profit.
             •   For companies that make some adjustments to the percentage-of-completion
                 accounts during the year, these mid-year adjustments can be incomplete and less
                 accurate than their year-end adjustments. Significant focus and effort is invested
                 into annual statements used for tax and external audit purposes. In my
                 experience, contractors -- especially medium and smaller-sized companies --
                 focus on day-to-day cash balances. There is little need for such firms to
                 comprehensively calculate percentage-of-completion balances monthly.
             •   Change orders greatly impact the profitability of specific projects and therefore,
                 contractors’ overall profitability. It is common for contractors to perform
                 informally approved change order work (and therefore earn the revenue) but at the
                 time of performance not include the change order value in the percent complete
                 calculation of earned revenue. Once formally approved, the contractor
                 immediately recognizes the revenue while not moving the previously incurred


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                  costs to the current month. Change orders are more often accounted for at
                  project-end or year-end rather than at each month-end. Change order accounting
                  situations such as these can greatly distort monthly variable profits.
              •   Cumulative adjustments or outdated/incorrect project completion cost estimates
                  are often recorded cumulatively all in one month as identified. During the course
                  of the year, existing project cost estimates may become stale as performance on
                  projects can bring unexpected results (and therefore change profitability
                  estimates). Where cumulative adjustments are recorded in a single month,
                  monthly operating results do not reflect economic reality.
              •   Non-operating incentive clauses and other terms may not be accurately allocated
                  on a monthly basis, including contract options, price redetermination, penalty
                  clauses, and escalation clauses. 6

        20.       The large monthly fluctuations in the variable profit margin (including negative
variable profit margin) of construction claims I reviewed indicate that the monthly P&L
schedules submitted to the Settlement Program do not match monthly revenues and
corresponding expenses as required for the BEL calculations. Furthermore, in the monthly P&L
schedules of the contractor claims that I reviewed, the contractors’ monthly revenues varied
more than monthly variable expenses. This indicates to me that the dramatic fluctuations in
monthly variable profit are mostly caused by revenue not being accurately reported in the month
it was earned. Appendix Table C.7 indicates that four of these five contractors had more
variability in their monthly revenue compared to monthly expenses.
        21.       This result is consistent with my professional experience that most construction
contractors record costs into their accounting systems on a timely basis. This timely recording of
costs incurred is necessary for the timely payment of invoices and for project management and
forms the basis for the percentage-of-completion accounting method. The contractor’s recording
of revenues, however, is subject to estimates and assumptions which are subject to more
judgment and potential errors than when costs are recorded. This is why incurred costs more
reliably measure a contractors’ effort for a particular month than revenue recorded in monthly
profit and loss statements. Another reason is that recorded costs reflect actual operating effort
and progress on a project such has hours worked (for labor costs), materials purchased and
installed, etc.




6
 Accounting Standards 605 Revenue Recognition, 35 Construction-Type and Production-Type Contracts,
Measurement of Contract Revenues and Costs, U.S.: Contract Revenues, p. 1.


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        3.          Settlement Program offers to construction claimants indicate that
                    implementation of the BEL framework with monthly P&L schedules that do
                    not match revenues and expenses yields unreasonable and even nonsensical
                    offer amounts.
        22.         Settlement Program offers to construction firm claimants based on mismatched
monthly P&L schedules result in a fictitious reduction in variable profit and thus an inflated
award for these contractors due simply to differences in the timing of when they record revenue
and expenses. To illustrate this point, consider the following simple example in which a
contractor has the same variable profit over the period May-December of 2009 and 2010, and the
same variable profit in each individual month during those periods other than August and
September. The contractor earns a variable profit of $300 in August/September of each year.
However, in 2009 the contractor records the $300 of variable profit in September, and in 2010
the contractor records the $300 variable profit in August. For this example, assume this is a
mismatching of revenues and costs. Under Class Counsel’s interpretation of the BEL
framework, the claimant would be entitled to Step 1 compensation of $300 simply by selecting a
September-November compensation period although the claimant experienced no decline in
variable profit.


                                                  Table 1
                           Hypothetical Example: Reported Variable Profit by Month


                           May      Jun      Jul     Aug       Sep       Oct      Nov       Dec
             2009          150      150      150      0        300       150      150       150
             2010          150      150      150     300        0        150      150       150

             Difference     0        0        0       300     (300)       0         0       0


                                                             Selected Compensation Period



        23.         This example illustrates how the BEL formula can yield distorted results when
revenues and corresponding expenses are not matched for the period being analyzed.
Unreasonable or distorted Step 1 compensation calculated using mismatched or misallocated
revenues or expenses is compounded by the RTP component of the offer.




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                                                                                APPENDIX A




                                 David A. Hall, CMA, CFE, MBA
 Alvarez & Marsal
                                 Managing Director – Global Forensic and Dispute Services
 707 Seventeenth Street
                                 dhall@alvarezandmarsal.com
 Suite 2125
 Denver, CO 80202
                                 Mr. Hall has performed financial, economic, and accounting
 dhall@alvarezandmarsal.com      analysis in relation to a wide variety of damage issues. His
                                 experience includes construction damages claim
 Education                       preparation, claim review, litigation support and expert
 • M.B.A., University of Texas   testimony in both courts and arbitration. His testimony has
   at Austin                     covered economic, valuation and damages matters. He is
 • B.A., University of           a Certified Management Accountant and Certified Fraud
   Michigan, Ann Arbor           Examiner.

 Certifications                  He is a member of the Institute of Management
                                 Accountants, National Contract Management Association,
 • Certified Management
                                 Association of Certified Fraud Examiners, and the National
   Accountant
                                 Association of Certified Valuation Analysts.
 • Certified Fraud Examiner
                                 Professional Experience
 Honors
                                 Navigant Consulting, Inc. (2004 -2008), an international
 • Attended the University of
                                 business and litigation consulting firm – Managing Director.
   Michigan on an Athletic
   Scholarship
                                 Tucker Alan Inc. (1994 -2004), a national business and
 • Treasurer, Michigamua,        litigation consulting firm – Vice President.
   University Senior Honor
   Society                       Peterson Consulting (1988-1994), an international consulting
 • University of Texas Sord      company -- staff consultant, senior and executive consultant.
   Scholar Recipient (academic
   achievement)                  Overall Experience Summary
 • Darrell K. Royal              Mr. Hall has analyzed the financial condition of corporations,
   Scholarship Recipient for     partnerships, joint ventures, and individuals. He has
   coaching and academic         performed damage studies, analyzed financial statements,
   achievement                   disclosures and other representations in a variety of
 • Century Club Scholarship      circumstances including in the context of disputes and
   Recipient for academic        management consulting. He has analyzed and prepared
   achievement                   numerous lost profits, increased costs, business and asset
                                 valuations, royalty and other damages claims. His analyses
 • Graduated from the
                                 have included study of actual and projected revenues, cost
   University of Texas MBA
                                 of goods sold, indirect costs, general and administrative
   class with highest
                                 expenses, cost of capital, discount rates and assets,
   distinction and received
                                 liabilities and equity. He has also served as an expert
   Dean’s Award for academic
                                 witness testifying in federal and state courts and arbitration.
   excellence

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 Selected Experience By Industry

 Construction
    Mr. Hall has evaluated project accounting and damages issues in many construction
    matters for a variety of projects. He has assisted owners, contractors, subcontractors
    and engineers preparing and analyzing construction accounting records and claims for
    economic damages. He has developed an understanding and expertise of the issues
    relating to accounting for construction projects, cost and damage measurement. His
    experience includes analyzing construction project accounting records including job
    cost accounts/reports, payment requests, proper accounting for long-term construction
    projects, damages, change orders, and contract price adjustments. He has also studied
    the actual and projected costs and revenues for many construction projects.

    His experience includes preparing or rebutting constructive changed work claims
    including delay and disruption cost claims. He has extensive experience with
    termination claims (both for convenience default). He has also submitted expert reports
    and provided testimony on the proper accounting treatment of costs under GAAP for
    long-term contract accounting guidance.

    He has extensive experience with contractors’ accounting systems including reviewing
    and analyzing contractors’ project job costs accounts, compliance reviews and fraud
    investigations. He has also assisted clients with project cost reviews (for contract
    compliance and fraud) and forensic accounting analyses related to Qui Tam (false
    claims). His project experience includes:

        •   Airport Facilities                     •   Hotels
        •   Computer Chip Manufacturing            •   Multi-Family Housing
            Plant                                      Developments
        •   City Jail                              •   Oil Refineries
        •   Coal Mining Facility                   •   Parking Garage
        •   Education Facilities                   •   Phosphate Plant
        •   Environmental Laboratories             •   Single Family Residential
        •   Gold Mining Facility                   •   Spent Nuclear Fuel storage
                                                       facility
        •   Highway Bridge                         •   Wind Farms




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  David A. Hall, CMA, CFE, MBA                                                 APPENDIX A




 Government Contracts
    Mr. Hall has performed project cost audits, and general business consulting for
    government and long-term contracting companies. Analyzed and prepared requests for
    equitable adjustments, changed work claims, termination claims and false claims disputes
    in the following areas:

      •   Aircraft Depot Level Maintenance          •   Low-level radioactive waste
      •   Command Centers – Battlefield                 shipments
      •   Command Control and                       •   Power Plant (Spent Fuel
          Communications Center – National              Storage)
                                                    •   Satellites
      •   Computer Hardware and Software            •   Tank Trailers
      •   Fighter Aircraft                          •   Tank Munitions (120mm)
      •   Flight Test Simulators                    •   Trainer Aircraft
      •   Fire Station                              •   Transport Aircraft
      •   Gunship (AC-130)                          •
    Mr. Hall’s false Claims experience includes analyzing accounting issues related to percent
    complete on long-term contracts and related progress billing issues, value of oil and gas
    royalties, and reported progress of environmental clean at large DOE site.
    He has assisted manufacturing companies with Material Management and Accounting
    Systems (“MMAS”) compliance audits involving review, analysis and corrective actions
    to companies’ Material Requirements Planning (“MRP”) systems.
    He has also assisted contractor and its counsel with dispute involving the design and
    development of student loan software. Analysis included causation and damages
    related to the substantial increase in development costs and dispute between a state
    and contractor related to their partnership and joint development effort.

 Mergers and Acquisitions
    Mr. Hall has assisted a Telecommunications Company and its counsel with a post
    merger class action dispute related to the last declared dividend to shareholders of the
    non-surviving entity of a telecommunications merger. Tasks included analyzing and
    quantifying increases in shareholder value from announcement of merger to the close,
    quantifying class members’ gain on the day that the merger closed through the
    conversion of the shares to surviving merged entity, and quantifying the value impact to
    the shareholders and company of a specific dividend payment.

    He has also assisted Aerospace Company and its counsel with a post acquisition
    purchase price dispute related to the sale of a $3 billion satellite company. Analyses
    included valuation of individual satellite contracts, proper accounting for long-term



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    contracts and comparing the accounting for the closing balance sheet with the selling
    company’s past practices.

    He has served as Independent Accountant to determine outcome of post-acquisition
    dispute between acquiring company and the former shareholders related to the sale of a
    golf, private club and resort operator.

 Real Estate Experience
    Provided expert witness damages testimony in Denver District Court caused by breach
    of partnership agreement related to failure to fund in attempted acquisition of apartment
    complexes.
    Provided expert witness damages testimony in Colorado Federal Court for failure to
    fund matter for a high-rise condominium development project. Determine damages
    caused by a bank lender’s failure to provide funds under a loan agreement the plaintiff
    alleged had been executed. Damage analysis included additional cost caused by
    suspended construction activity while alternative financing was obtained as well as the
    economic impact of less favorable loan terms from new financing.
    He has analyzed damages issues in a dispute related to a failed land development
    partnership in Colorado. Projected partnership cash flows and values over time by
    forecasting development costs, lot values, take-down schedules, tap fees, partnership
    operating expenses and financing costs. Developed a complex financial model and
    drafted an expert report prior to settlement of the case.
    Provided expert witness damages testimony in arbitration in a breach of contract
    dispute between LLC partners involving lifestyle center mixed use. Analyses included
    assessing the economic impact of the partners from different equity and debt structure
    for the project.
    He has additional experience includes fraud investigations and damages assessments
    for many low-income housing developments throughout the country.




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  David A. Hall, CMA, CFE, MBA                                                    APPENDIX A




  Additional Experience

    His selected industry experience includes the following:

     •   Accounting malpractice                   •   Legal malpractice
     •   Aerospace & Defense                      •   Mining and processing plants
     •   Agribusiness                             •   Mutual Funds
     •   Airline                                  •   Natural Gas and NGLs royalties
     •   Automotive                               •   Oil royalties
     •   Banking                                  •   Real Estate – Resorts, Hotels,
                                                      Lifestyle Centers, Condominiums
     •   Construction
                                                  •   Restaurants and retail
     •   Consumer Products
                                                  •   Satellites
     •   Drilling equipment
                                                  •   Telecommunications
     •   Educational Services
                                                  •   Utilities
     •   Energy Laboratories
                                                  •   Wind Energy
     •   Ethanol
     •   Healthcare and Medical Products



 Testimony and Alternative Dispute Resolution Experience
    Mr. Hall has provided expert testimony in over 50 matters in trials (U.S. state and federal
    courts, Canadian federal court), arbitrations), and depositions involving many types of
    disputes. The subject matter of his testimony has included economic damages, loss
    causation, valuation, accounting and financial issues, and fraud investigation results.
    Mr. Hall has also consulted with companies on methods to avoid disputes and assisted in
    resolving existing disputes. These efforts have included participating in settlement
    negotiations and mediations presenting accounting, economic and business operations
    analyses and assisting in developing alternative methods to resolve the disputes.
    Examples include assisting a government contractor in mediating a large and complex
    claim for increased costs related to the development and production of a Special Forces
    aircraft. The mediation resulted in a substantial settlement with the United States Air
    Force.
    He has served as Independent Accountant Arbitrator to render opinion on accounting
    dispute involving past practice and GAAP in a post-acquisition dispute.




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  David A. Hall, CMA, CFE, MBA                                                  APPENDIX A




 Professional Associations
      • Institute of Management Accountants
      • Association of Certified Fraud Examiners
      • National Association of Certified Valuation Analysts
      • National Contract Management Association

 Lectures and Seminars and Representative Topics Covered
     • National Contract Management Association -- National Education Seminar Instructor
          Contract Costs and Pricing Contract Changes
          Preparation and Analysis of Construction Contract Claims
     •   American Bar Association Annual—Public Contracts Section Annual Meeting
          Dealing with a More Active Defense Contract Audit Agency
     •   Rocky Mountain Intellectual Property & Technology Institute Lecturer
          Patent Valuation and Damages Issues
     •   Various Company and Law Firm lectures
          Preparation and Analysis of Economic Damage Claims
          Loss Causation Analyses
          Preparation and Analysis of Construction and Government Contract Claims




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                                                                               APPENDIX B
                                   Documents Reviewed


Legal Filings

   1.    THE PLAINTIFFS’ STEERING COMMITTEE’S AND BP DEFENDANTS’JOINT
         MOTION FOR (1) PRELIMINARY APPROVAL OF CLASS ACTION
         SETTLEMENT, (2) SCHEDULING A FAIRNESS HEARING, (3) APPROVING
         AND ISSUING PROPOSED CLASS ACTION SETTLEMENT NOTICE, AND (4)
         BP’SMOTION FOR ADJOURNING THE LIMITATION AND LIABILITY TRIAL,
         April 18, 2012

   2.    DEEPWATER HORIZON ECONOMIC AND PROPERTY DAMAGES
         SETTLEMENT AGREEMENT AS AMENDED ON MAY 2, 2012
            a) Exhibit 4A

            b) Exhibit 4B

            c) Exhibit 4C

            d) Exhibit 4D

            e) Exhibit 4E


   3.    ORDER AND REASONS Granting Final Approval of the Economic and Property
         Damages Settlement Agreement, December 21, 2012



Correspondence Regarding Monthly Revenue

   4.    December 16, 2012 memo from class counsel to claims administrator re: Request for
         Formal Policy Statement: Monthly Revenue

   5.    BP’s response to December 16, 2012 memo from class counsel to claims administrator
         re: monthly revenue

   6.    BP’s memo with suggested triggers for selected industries

   7.    Announcement from Patrick A. Juneau, Claims Administrator, to class counsel and
         BP, dated January 15, containing 2 page response memorandum




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                                                                                APPENDIX B
                                   Documents Reviewed


Claimants’ Financial Information

   8.    PWC Workbooks

   9.    Claimants’ tax returns

   10.   Claimants’ annual and monthly financial statements



Research/Accounting Literature

   11.   Accounting Standards 605 Revenue Recognition, 35 Construction-Type and
         Production-Type Contracts

   12.   Donald E. Kieso, Jerry J. Weygandt, and Terry D. Warfield, Intermediate Accounting,
         Tenth Edition, John Wiley & Sons, 2000.

   13.   Internal Revenue Bulletin 2003-41, dated October 14, 2003




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                                                                                 APPENDIX E

         Objective Criteria To Identify Claims Subject To Further Review




    1. Large percentage of annual revenues reported in any month of the Benchmark
       or Compensation Periods: Large “spikes” of revenue in any single month suggest
       revenue is being recorded either when payments are received or when project owners
       are formally approving change orders rather than over the period of time that
       revenues are earned. In either case, these spikes are an indication that contractors’
       P&L schedules do not have monthly revenues matched with the monthly variable
       expenses to earn that month’s recorded revenue.


    2. Variable expenses in excess of revenues in any month of the Benchmark or
       Compensation Periods: A negative variable profit in any month indicates that a
       contractor’s is unprofitable on its projects that month even before accounting for
       fixed costs (such as overhead). In my experience this is unusual and it is more likely
       the cause of the negative monthly profit is the result of incorrect matching of monthly
       revenues and expenses—especially when the next month indicates contractor is now
       profitable on those same projects.


    3. Large variance in variable profit as a percentage of revenue: If variable profit
       margin (expressed as a percentage of revenue) swings wildly from one month to the
       next or relative to average variable profit margin over a longer period of time, it is
       likely the case that revenues are not being properly matched with the costs incurred in
       generating those revenues. This is particularly true in construction companies where
       each month is a weighted average of the jobs in progress, and those jobs generally
       will be similar from one month to the next.




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